     Case 3:07-cv-05944-JST Document 672 Filed 04/20/10 Page 1 of 4




 1   COUNSEL LISTED ON SIGNATURE BLOCK

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                             UNITED STATES DISTRICT COURT
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                          NORTHERN DISTRICT OF CALIFORNIA
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14
                                           )   No.: M-07-5944 SC
15     In Re CATHODE RAY TUBE (CRT)        )
16     ANTITRUST LITIGATION                )   MDL NO. 1917
                                           )
                                               STIPULATION AND [PROPOSED]
17                                         )
                                               ORDER RE: BRIEFING SCHEDULE
       This Document Relates to:           )
18                                             AND HEARING ON DEFENDANTS’
                                           )
                                               MOTION TO CERTIFY ORDER FOR
       ALL ACTIONS.                        )
19                                             INTERLOCUTORY APPEAL
                                           )
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     MDL NO. 1917                                STIPULATION AND [PROPOSED] ORDER
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 1           WHEREAS on February 5, 2010, Special Master Charles A. Legge issued his Report,

 2   Recommendation and Tentative Rulings Re: Defendants’ Motions To Dismiss by which he
 3   denied in part and granted in part Defendants’ Motions To Dismiss;

 4           WHEREAS on March 30, 2010, the Court issued an Order Approving and Adopting

 5   Special Master’s Report, Recommendation and Tentative Rulings Re: Defendants’ Motions to

 6   Dismiss;
 7           WHEREAS on April 9, 2010, Defendants filed a motion to certify this Court’s March

8    30, 2010 Order for interlocutory appeal pursuant to 28 U.S.C. § 1292(b);

 9           WHEREAS on April 14, 2010, this Court issued an order setting the hearing on
10   Defendants’ motion for April 23, 2010 at 10:00 a.m., and ordered that the Direct Purchaser
11   Plaintiffs and Indirect Purchaser Plaintiffs may each file a response to the motion by April 21,

12   2010; and
13           WHEREAS, due to scheduling conflicts, the parties have agreed that the hearing on

14   the motion to certify and the briefing schedule should be amended as set forth below.
15           IT IS HEREBY STIPULATED AND AGREED, by and between counsel for the

16   undersigned Plaintiffs and Defendants, that:
17           1.     Plaintiffs shall file their briefs in opposition to Defendants’ motion to certify
18   the March 30, 2010 Order for interlocutory appeal by April 27, 2010.

19           2.     The hearing on Defendants’ motion to certify the March 30, 2010 Order for

20   interlocutory appeal will be held on April 30, 2010 at 10:00 a.m. in Courtroom 1, 17th Floor,
21   U.S. Courthouse, 450 Golden Gate Avenue, San Francisco, California 94102.

22
     Dated: April 15, 2010                 By:      /s/ Mario N. Alioto
23                                                  MARIO N. ALIOTO (56433)
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                                                    LAUREN C. RUSSELL (241151)
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                                                    2280 Union Street
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                                                    San Francisco, California 94123
28   MDL NO. 1917                                            STIPULATION AND [PROPOSED] ORDER
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     Case 3:07-cv-05944-JST Document 672 Filed 04/20/10 Page 3 of 4



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                                                                  Interim Lead Counsel for the Indirect
 3                                                                Purchaser Plaintiffs

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     Dated: April 15, 2010                                  By:   /s/ Guido Saveri
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12                                                                Interim Lead Counsel for the Direct Purchaser
                                                                  Plaintiffs
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     Dated: April 15, 2010                                  By:   /s/ Jeffrey L. Kessler
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                                        onti                      Counsel for Defendants Panasonic Corporation
22                               amuel C
        NO




                          Judge S
                                                   FO




                                                                  of North America, MT Picture Display Co., Ltd.,
         RT




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23               ER                                               and Panasonic Corporation (f/k/a Matsushita
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                      N
                          D IS T IC T O
                                        F                         Electric Industrial Co., Ltd.) And On Behalf Of
24                              R                                 All Other Defendants
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28   MDL NO. 1917                                                           STIPULATION AND [PROPOSED] ORDER
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     Case 3:07-cv-05944-JST Document 672 Filed 04/20/10 Page 4 of 4




 1          Pursuant to General Order, § X-B, the filer attests that concurrence in the filing of

 2   this document has been obtained from each of the above signatories.
 3

 4   PURSUANT TO STIPULATION, IT IS SO ORDERED.

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     DATED:________________________
8                                                                 Hon. Samuel Conti
                                                              United States District Judge
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28   MDL NO. 1917                                             STIPULATION AND [PROPOSED] ORDER
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